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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

 Case No.: 2:21-04920 CJC (ADSx)                                 Date: November 17, 2022
 Title: Serena Fleites et al. v. MindGeek S.A.R.L. et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                                None Reported
                Deputy Clerk                             Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
               None Present                                    None Present

 Proceedings:         (IN CHAMBERS) ORDER GRANTING PLAINTIFF’S
                      MOTION FOR ISSUANCE OF LETTERS ROGATORY
                      (DKT. NO. 178); AND DENYING AS MOOT PLAINTIFF’S
                      MOTION TO COMPEL AND GRANTING DEFENDANT
                      VISA’S MOTION FOR A PROTECTIVE ORDER
                      (DKT. NO. 180)

         Plaintiff Serena Fleites (“Plaintiff”) brings this action against Defendants
 MindGeek S.A.R.L., MG Freesites Ltd., MindGeek USA Inc., MG Premium Ltd., MG
 Global Entertainment Inc., 9219-1568 Quebec, Inc., Bernd Bergmair, Feras Antoon,
 Davis Tassillo, Corey Urman (collectively, “MindGeek Defendants”), Visa, Inc., Colbeck
 Capital Does 1-5, and Bergmair Does 1-5 (collectively, “Defendants”). Plaintiff alleges
 that Defendants run one of the largest human trafficking ventures in the world and
 solicited, optimized, commercialized, and monetized Plaintiff’s child sexual abuse
 material. (Dkt. No. 124-3 at 4, 169-71.) Plaintiff further allege that “MindGeek used its
 byzantine international corporate structure of hundreds of sham shell corporations to
 mask the process and launder the payments.” (Id. at 7.)

        Before the Court are (1) Plaintiff’s Motion for Issuance of Letters Rogatory (Dkt.
 No. 178); and (2) a Joint Stipulation of (a) Plaintiff’s Motion to Compel Defendant Visa’s
 Response to Plaintiff’s First Request for Production of Documents (“RFP”) and
 (b) Defendant Visa’s Motion for a Protective Order (“Motion to Compel”) (Dkt. No. 180).
 The Court finds Plaintiff’s Motion to Compel appropriate for decision without oral
 argument. See Fed. R. Civ. P. 78; L.R. 7-15.


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        On November 16, 2022, the Court held a hearing on Plaintiff’s Motion for
 Issuance of Letters Rogatory. At the hearing, Plaintiff emphasized that the information
 sought from the letters rogatory is relevant to determining the Court’s jurisdiction.
 Plaintiff stressed that the information sought sheds light on the core issue of “where the
 money flows.” (See Dkt. No. 167 at 3 n.2.) Defendants argued that the information
 sought could be more easily obtained between the parties in this case, not foreign
 entities. Defendants further stated that they have produced extensive documents to
 Plaintiff and will make witnesses available for the two depositions that Plaintiff noticed.
 For the reasons discussed below, the Court GRANTS Plaintiff’s Motion for Issuance of
 Letters Rogatory. (Dkt. No. 178.) Additionally, the Court DENIES AS MOOT Plaintiff’s
 Motion to Compel Defendant Visa’s Response to Plaintiff’s First Request for Production
 of Documents and GRANTS Defendant Visa’s Motion for a Protective Order. (Dkt. No.
 180.)

    1. Plaintiff’s Motion for Issuance of Letters Rogatory (Dkt. No. 178)

        Plaintiff moves the Court to issue letters of request for international judicial
 assistance from the appropriate judicial authorities of Canada, Ireland, Cyprus, and
 Luxembourg. (Dkt. No. 178.) Defendants filed an Opposition and Plaintiff filed a Reply.
 (Dkt. Nos. 192, 195.) Of particular significance to these requests is the Court’s July 29,
 2022 Order regarding jurisdictional discovery. (Dkt. No. 167.) In this Order, the Court
 directed the MindGeek Defendants to submit to jurisdictional discovery until December
 30, 2022. (Id. at 1.) The Court ordered jurisdictional discovery on the issues of whether
 there is personal jurisdiction over MindGeek S.A.R.L. and MG Premium Ltd. and
 whether Plaintiff can establish personal jurisdiction over certain individual Defendants
 under an alter ego theory. (Id. at 2-5.)

        “[D]iscovery by letters rogatory is consistent with the liberal discovery provisions
 of Rule 26. Rule 26 allows parties to obtain discovery regarding any nonprivileged
 matter that is relevant to any party’s claim or defense and proportional to the needs of
 the case.” Fisher & Paykel Healthcare Ltd. v. Flexicare Inc., No. SA CV 19-00835-JVS
 (DFMx), 2020 WL 5900155, at *2 (C.D. Cal. Aug. 17, 2020) (internal quotations and
 citation omitted) (citing Fed. R. Civ. P. 26(b)(1).) Specifically, Federal Rule of Civil
 Procedure 28(b)(1)(B) provides that a “deposition may be taken in a foreign country . . .


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 under a letter of request, whether or not captioned a ‘letter rogatory.’” Fed. R. Civ. P.
 28(b)(1)(B). Further, “[u]nder the terms of the Hague Convention, 28 U.S.C. § 1781,
 depositions are conducted by a letter of request where the evidence to be addressed at
 such deposition is intended for use in a judicial proceeding.” Evanston Ins. Co. v. OEA,
 Inc., No. CIV S-021505 DFL PAN, 2006 WL 1652315, at *3 (E.D. Cal. June 13, 2006).

         To evaluate relevance, the Court refers to the July 29, 2022 Order regarding
 jurisdictional discovery. (Dkt. No. 167.) In this Order, the Court examined whether
 certain Defendants had sufficient contacts with the United States to support a finding of
 personal jurisdiction. (Id. at 2.) “Only contacts occurring prior to the event causing the
 litigation may be considered.” Farmers Ins. Exch. v. Portage La Prairie Mut. Ins. Co.,
 907 F.2d 911, 913 (9th Cir. 1990). The Court also discussed the standard for the alter
 ego doctrine. “[T]o avail [herself] of the [alter ego] doctrine, [P]laintiff must allege two
 elements: First, there must be such a unity of interest and ownership between the
 corporation and its equitable owner that the separate personalities of the corporation
 and the shareholder do not in reality exist. Second, there must be an inequitable result
 if the acts in question are treated as those of the corporation alone.” (Dkt. No. 167 at 4
 citing Wehlage v. EmpRes Healthcare, Inc., 791 F.Supp.2d 774, 782 (N.D. Cal. 2011).)

         Plaintiff argues that the letters are relevant to the Court’s jurisdictional analysis,
 namely “[w]here the money flows in the MindGeek web” and “who owns Pornhub and
 the other MindGeek websites that hosted plaintiff’s videos.” (Dkt. No. 178 at 8-9.) In
 opposition, Defendants aver that Plaintiff cannot burden non-parties with requests for
 information that can be obtained from Defendants. (Dkt. No. 192 at 11-13.) Defendants
 further contend that Plaintiff’s requests and deposition topics are neither relevant nor
 proportional to the needs of jurisdictional discovery. (Id. at 13-18.) In reply, Plaintiff
 maintains that the letters are relevant to the Court’s jurisdictional analysis because they
 seek information on the “amount and source of defendants’ annual revenues, profits and
 losses, ownership structure, tax payments, the business purposes for the various
 MindGeek entities and related entities, and the relationships and flow of funds.” (Dkt.
 No. 195 at 7.)

        As a preliminary matter, the Court is not persuaded by Defendants’ argument
 that the information sought can be obtained from Defendants. At the hearing,

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 Defendants cited to Genus Lifesciences to support its argument that parties should
 “obtain discovery from one another before burdening non-parties with discovery
 requests.” Genus Lifesciences Inc. v. Lannett Co., Inc., No. 18-CV-07603-WHO, 2019
 WL 7313047, at *4 (N.D. Cal. Dec. 30, 2019). However, the Court finds Genus
 Lifesciences to be distinguishable because it involves a motion to quash under Rule 45,
 not letters rogatory. Further, the court in Genus Lifesciences dissuaded parties from
 burdening nonparties when the parties could obtain documents from each other. Here,
 however, although Defendants admit they have possession and control over the majority
 of the sought-after documents, they have not produced them to Plaintiff. Additionally,
 the Court is persuaded by Plaintiff’s citation to Fisher & Paykel. See Fisher & Paykel
 Healthcare Ltd. v. Flexicare Inc., No. SA CV 19-00835-JVS (DFMx), 2020 WL 5900155
 (C.D. Cal. Aug. 17, 2020). The court in Fisher & Paykel ruled that a party “should thus
 be permitted to test [the opposing party’s] claims that the requested discovery will be
 duplicative and/or cumulative and see if any the named inventors have ‘sharper
 memories’ or additional documents compared to what FPH has offered so far.” Id. at *2.
 Therefore, Defendants have not met their burden in justifying their objection that the
 information sought can be exchanged only between the parties.

        First, with respect to the letter rogatory to Grant Thornton LLP (Canada),
 Plaintiff argues that the letter is appropriate because MindGeek Defendant 9219-1568
 Quebec Inc. “is and has been since before 2014 a corporation organized and operating
 under the laws of the Provence of Quebec, Canada.” (Dkt. No. 178 at 10.) 9219-1568
 Quebec, Inc. does not object to the Court’s personal jurisdiction. (Dkt. No. 167 at 2.)
 Nevertheless, the Court’s July 29, 2022 Order regarding jurisdictional discovery states
 that Plaintiff may “impute the contacts of the non-objecting MindGeek Entity
 Defendants to MindGeek S.A.R.L. and MG Premium through the alter ego
 doctrine.” (Dkt. No. 167 at 4.) The Court GRANTS Plaintiff’s Motion for Issuance of
 Letters Rogatory as to Grant Thornton LLP (Canada).

        Second, with respect to Grant Thornton Ireland, Plaintiff contends that Grant
 Thornton Dublin operated as the headquarters of Grant Thornton Ireland and provided
 auditing services to MG Billing Ltd. (Dkt. No. 178 at 11.) Plaintiff further argues that
 MG Billing Ltd. is a Dublin-based company that collects subscriptions from MindGeek
 premium users and three other MindGeek companies. (Id.) Defendants oppose the

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 letter of request to Grant Thornton Ireland as irrelevant because they argue that “no
 MindGeek entity organized under Irish law is a defendant or relevant to Plaintiff’s alter
 ego theories.” (Dkt. No. 197 at 7.) Defendants further argue that MG Billing Ltd is not a
 party to this case. (Id. at 17.) Plaintiff responds that the letter of request is relevant to
 shed light on “[w]here the money flows” and “the [true] ownership of the porn sites that
 generate[d]” revenue from Plaintiff’s child sexual abuse material. (Dkt. No. 195 at 12-
 13.) The Court agrees with Plaintiff. As such, the Court GRANTS Plaintiff’s Motion for
 Issuance of Letters Rogatory as to Grant Thornton Ireland.

        Finally, Plaintiff seeks the issuance of letters rogatory to Grant Thornton
 (Cyprus) Ltd. and Grant Thornton Luxembourg. With respect to Grant Thornton
 (Cyprus) Ltd., Plaintiff states that “Defendants MG Freesites Ltd and MG Premium Ltd,
 are both ‘organized and operating under the laws of the Republic of Cyprus’ and have
 their head offices at 195-197 Old Nicosia-Limassol Road, Block 1 Dali Industrial Zone,
 Cyprus.” (Dkt. No. 178 at 13 citing Dkt. No. 139-3 at 6 [Andreou Decl.].) Regarding
 Grant Thornton Luxembourg, Plaintiff explains that “MindGeek S.a.r.l. is and has been
 since October 2013 . . . incorporated under the laws of Luxembourg, having its
 registered office [in] Luxembourg and registered with the Luxembourg Register of
 Commerce and Companies . . . .” (Id. citing Dkt. No. 139-3 at 6 [Andreou Decl.].)
 Plaintiff further explains that these letters are relevant as to “where the MindGeek
 finances flow, who controls, owns, and operates the various MindGeek Entities, and the
 financial status of the Defendants.” (Id. at 14.) As such, Plaintiff has established the
 relevance of these letters rogatory to the Court’s jurisdictional analysis. (See Dkt. No.
 167 at 3 n.2 (“Where the money flows in the MindGeek web, which may relate to
 ownership of the porn sites that generate revenue, matters to the Court’s jurisdictional
 analysis. As the Court sees it, financially benefitting from the sexual exploitation of
 minors is the core of this case.”).)

        In turn, Defendants do not assert any specific objections as to the letters rogatory
 to Cyprus and Luxembourg. Instead, Defendants contend as to all the letters rogatory
 that Plaintiff has already requested the discovery sought from Defendants in her First
 Set of Requests for Production. (Dkt. No. 192 at 12.) However, the Court finds that the
 information sought is not unreasonably cumulative. See Fed. R. Civ. P. 26(b)(2)(C).
 The Court agrees with Plaintiff that the information is relevant to the Court’s

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 jurisdictional analysis and ensures Plaintiff “obtains complete and accurate
 information.” (Dkt. No. 195 at 9.)

        Defendants further argue that the requests are expansive and assert specific
 objections to Requests 1, 11, and 13 and Topic 6 in the letters rogatory. (Dkt. No. 192 at
 16-17.) The Court is not persuaded by Defendants’ objection to Request 1 because the
 existence of contracts between Grant Thornton and MindGeek entities can help
 determine the Court’s personal jurisdiction over certain Defendants. (Id. at 16.) The
 Court does, however, find merit in Defendants’ argument that Requests 11 and 13 and
 Topic 6 appear to be irrelevant to the Court’s jurisdictional analysis. Therefore, the
 Court modifies the letters rogatory as detailed below. Accordingly, as Plaintiff has
 established relevance, the Court GRANTS Plaintiff’s Motion for Issuance of Letters
 Rogatory as to Grant Thornton (Cyprus) Ltd. and Grant Thornton Luxembourg.

        Plaintiff’s Motion for Issuance of Letters Rogatory is GRANTED. IT IS
 ORDERED that, on or before Tuesday, November 22, 2022 at 5:00 p.m., Plaintiff shall
 lodge with the Court the proposed letters rogatory with the following revisions:

        1. Delete Request 11, Topic 6, and Request 13.
        2. Update the date for the time for completion.
        3. Insert “Ireland” in exchange for “Canada” on page 10 of the letter rogatory to
        Ireland.

    IT IS FURTHER ORDERED that the Clerk of Court shall affix its official seal to
 the Letters Rogatory after signature by the court.

    2. Joint Stipulation of (1) Plaintiff’s Motion to Compel Defendant Visa’s
       Response to Plaintiff’s First Request for Production of Documents
       and (2) Defendant Visa’s Motion for a Protective Order (Dkt. No. 180)

        The parties filed a Joint Stipulation in support of Plaintiff Serena Fleites’ Motion
 to Compel Defendant Visa’s Response to Plaintiff’s First Request for Production of
 Documents and Defendant Visa’s Motion for a Protective Order. (Dkt. No. 180.) On
 July 29, 2022, the Court entered three orders relevant to the motion at issue. First, the


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 Court granted in part and denied in part Defendant Visa’s motion to dismiss. (Dkt. No.
 166.) Second, the Court directed the MindGeek Defendants to submit to jurisdictional
 discovery until December 30, 2022. (Dkt. No. 167.) Third, the Court denied Plaintiff’s
 request for issuance of scheduling order and request to open discovery. (Dkt. No. 168.)
 On August 11, 2022, the Court issued a Scheduling Order that set case deadlines and
 subsequently vacated that Scheduling Order. (Dkt. Nos. 173, 205.)

        Plaintiff believes that the August 11, 2022 Scheduling Order “supersedes” the July
 29, 2022 Order and requires the parties to complete all discovery prior to April 2023.
 (Dkt. No. 180 at 6; see Dkt. Nos. 168 and 173.) In turn, Defendant Visa argues that the
 Scheduling Order did not rescind or overrule the July 29, 2022 Order. (Dkt. No. 180 at
 8.) Defendant Visa contends that the Court was clear in denying Plaintiff’s request to
 proceed with discovery. (Id. at 8.) Defendant Visa explains that the July 29, 2022
 Order explicitly states that “the remaining claims against Visa are uncertain” and
 allowing discovery from Visa “would be inefficient case management” and “lead to
 duplication of effort, unnecessary discovery, and undue burden on the Court and the
 parties.” (Id.; see Dkt. No. 168.)

        On November 14, 2022, Judge Carney entered an Order vacating the August 11,
 2022 Scheduling Order and explained that a clerical error caused it to be issued. (Dkt.
 Nos. 173, 205.) In light of the inadvertent entry of the August 11, 2022 Scheduling
 Order and the Court’s explicit July 29, 2022 Order denying Plaintiff’s request to open
 discovery, the Court finds that only jurisdictional discovery is permitted at this time.
 (Dkt. Nos. 167, 168.)

       Plaintiff’s Motion to Compel Defendant Visa’s Response to Plaintiff’s First
 Request for Production of Documents is DENIED AS MOOT and Defendant Visa’s
 Motion for a Protective Order is GRANTED.


        IT IS SO ORDERED.


                                                                        Initials of Clerk kh


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